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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,
Plaintiff,

eratavontinalll WNSEA -KWZ

V.

$48,940 IN UNITED STATES

CURRENCY SEIZED

AT LOGAN AIRPORT,
Defendant.

Ne ee ee SS

WARRANT AND MONITION
To: The United States Marshal for the District of Massachusetts, or his Deputies
You Are Hereby Commanded to give notice to all persons concerned that a Verified Complaint
for Forfeiture in Rem (the “Complaint”), a copy of which is attached hereto, has been filed by the United
States of America against the following defendant property, described as:

a. $48,940 in United States currency, seized on February 1, 2018, from Edwin
Barosy, at Boston Logan International Airport, Terminal C

(the “Defendant Currency’).
This Court has found probable cause for forfeiture of the Defendant Currency. Accordingly,
you are hereby directed to serve, and give notice of the Complaint by:
(1) Publishing notice of the United States’ intent to forfeit the Defendant Currency
via the government website, www.forfeiture.gov, for thirty (30) consecutive

calendar days; and

(2) Mailing a copy of this Warrant and Monition, together with a copy of the Complaint to:

Edwin Barosy Edwin Barosy

16 Upham Terrace 1540 Columbus Avenue, #313
Malden, MA 02148 Roxbury, MA 02119

Edwin Barosy Edwin Barosy

63 Washington Street 2526 Business Center Drive, #735

Hyde Park, MA 02136 Pearland, TX 77584
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Edwin Barosy Matthew D. Thompson, Esq.
232 Brandywyne Drive, Unit B 699 Boylston Street, 12th Floor
Boston, MA 02128 Boston, MA 02116

by certified mail, postage prepaid and return receipt requested, or by serving such copies
on the above-listed parties by hand.

 

You Are Further Commanded to arrest, attach, inspect, and retain the Defendant Currency in
your custody until further order of this Court.

You Are Further Commanded to give due notice by appropriate service of process, as provided
herein, to all persons who claim an interest of the Defendant Currency, or assert that the Defendant
Currency should not be condemned or disposed of pursuant to the prayer of the Complaint. Upon
execution of this process, you are directed further to file the execution in this Court with your return
thereon.

ALL CLAIMS TO THE DEFENDANT CURRENCY MUST BE FILED WITH THE
UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MASSACHUSETTS AND
SERVED UPON ASSISTANT UNITED STATES ATTORNEY DAVID G. LAZARUS,
UNITED STATES ATTORNEY'S OFFICE, ASSET FORFEITURE UNIT, 1 COURTHOUSE
WAY, SUITE 9200, BOSTON, MASSACHUSETTS 02210, WITHIN SIXTY (60) DAYS
AFTER THE FIRST DAY OF PUBLICATION ON THE OFFICIAL GOVERNMENT
FORFEITURE WEBSITE OR WITHIN THIRTY-FIVE (35) DAYS AFTER RECEIPT OF
ACTUAL NOTICE, WHICHEVER IS EARLIER. ALL ANSWERS TO THE COMPLAINT
MUST BE FILED WITH THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
MASSACHUSETTS AND SERVED UPON ASSISTANT UNITED STATES ATTORNEY
DAVID G. LAZARUS, UNITED STATES ATTORNEY’S OFFICE, ASSET FORFEITURE
UNIT, 1 COURTHOUSE WAY, SUITE 9200, BOSTON, MASSACHUSETTS 02210, WITHIN

TWENTY ONE (21) DAYS AFTER THE FILING OF THE CLAIM. CLAIMS MUST BE

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FILED IN ACCORDANCE WITH THE FEDERAL RULES OF CIVIL PROCEDURE,
SUPPLEMENTAL RULES FOR ADMIRALTY OR MARITIME AND ASSET FORFEITURE
CLAIMS. THE PROCEDURES FOR FILING A PETITION FOR REMISSION OR
MITIGATION ARE SET FORTH IN 28 CODE OF FEDERAL REGULATIONS, PART 9. IN
ADDITION TO THE PROCEDURES MANDATED BY THOSE REGULATIONS, A COPY OF
ANY PETITION FOR REMISSION OR MITIGATION SHOULD BE FILED WITH THE
SEIZING AGENCY, WHICH IS THE UNITED STATES DRUG ENFORCEMENT
ADMINISTRATION, JFK FEDERAL BUILDING, ROOM E-400, 15 NEW SUDBURY
STREET, BOSTON, MASSACHUSETTS 02203, ATTENTION: ASSET FORFEITURE

GROUP.

By:
La “ Pesca
SL , 2018
APPROVED AND SO ORDERED:

(Co. Lebo

United. States District Judge

 
  

 

 

 

Dae wk 2018
